                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

UNITED STATES OF AMERICA,                        )
                                                 )
                             Plaintiff,          )
                                                 )          No. 3:15-CR-56
                      v.                         )
                                                 )
AMADO VALDEZ-MORALES,                            )
MAYRA EDITH BLAIR,                               )          (VARLAN / SHIRLEY)
LUIS CARVAJAL,                                   )
BERTHA DEL PILAR VARGAS,                         )
MARTIN AYALA,                                    )
FRANCISCO JAVIER CASTRO-REYES, and)
LUCERO BELTRAN-CHIMAL,              )
                                    )
                     Defendants.    )
                                    )


                              MEMORANDUM AND ORDER

       All pretrial motions in this case have been referred to the Magistrate Judge pursuant to 28

U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the

District Court as may be appropriate. This case is before the Court on the following pretrial

motions:

              (1) Defendant Mayra Blair’s Motion for Bill of Particulars [Doc.
                  44], filed on April 16, 2015;

              (2) Motion by Defendant [Lucero Beltran-Chimal] for “Pinpoint”
                  Discovery [Doc. 101], filed on October 8, 2015;

              (3) Defendant Mayra Edith Blair’s Renewed Motion for Bill of
                  Particulars [Doc. 111], filed on October 20, 2015; and

              (4) Motion by Defendant Lucero Beltran-Chimal for Bill of
                  Particulars [Doc. 113], filed on October 21, 2015.




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Defendants Bertha Del Pilar Vargas [Doc. 120], Martin Ayala [Doc. 121], Amado Valdez-

Morales [Doc. 122], Luis Carvahal [Doc. 124], Francisco Javier Castro-Reyes [Doc. 125] and

Mayra Edith Blair [Doc. 126] have moved to join in the motions for a bill of particulars and

pinpoint discovery made by Defendant Beltran-Chimal. The Government has responded [Docs.

47 and 132] in opposition to both a bill of particulars and pinpoint discovery. The parties

appeared to argue these motions before the undersigned on May 4, 2015, (only Doc. 44) and

November 19, 2015. At the conclusion of these hearings, the Court took the motions under

advisement.

       After reviewing the briefs, arguments, and relevant case law, the Court finds that the

Third Superseding Indictment provides sufficient notice of the charges, except that the

Government must designate which tax returns it contends are fraudulent.        The Court also

concludes that the Government has provided the Defendants with the means to “pinpoint” the

relevant discovery for themselves.



                                     I.       BACKGROUND

       Count One of the Third Superseding Indictment [Doc. 85] charges the Defendants with

conspiring to submit false claims, namely false and fraudulent federal income tax returns, from

2012 to August 8, 2015. Count Two alleges that the Defendants conspired to commit mail fraud

over that same time period by mailing false IRS Forms W-7 and false federal income tax returns,

which caused the IRS to mail fraudulently-obtained Individual Tax Identification Numbers

(ITIN’s) and treasury checks. Count Three charges the Defendants with conspiring to commit

wire fraud between 2012 and August 8, 2015 by electronically filing false federal income tax


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returns. Count Four states that the Defendants conspired to commit money laundering between

2012 and August 8, 2015, with the proceeds of the illegal schemes described in Counts One

through Three. Finally, Count Five charges Defendant Valdez-Morales with illegal reentry into

the United States after having previously been deported.



                                          II.     ANALYSIS

       The Defendants request a bill of particulars, arguing that the instant charges are

insufficient to permit them to prepare a defense, to avoid surprise at trial, and to protect against a

future double jeopardy violation. They also ask the Court to order the Government to state

which discovery applies to each Defendant.            The Court will first address the Defendants’

motions to join in the motions of Defendant Beltran-Chimal and will then address whether a bill

of particulars and/or pinpoint discovery are appropriate in this case.


                           A. Motions to Join in Codefendant’s Motions

       Defendants Bertha Del Pilar Vargas [Doc. 120], Martin Ayala [Doc. 121], Amado

Valdez-Morales [Doc. 122], Luis Carvahal [Doc. 124], Francisco Javier Castro-Reyes [Doc. 125]

and Mayra Edith Blair [Doc. 126] have moved to join in the requests for a bill of particulars and

pinpoint discovery made by Defendant Beltran-Chimal. These Defendants state that they are

similarly situated due to the large amount of discovery in this case and they request the same

relief.1 The Court finds the Defendants’ motions to join in Defendant Beltran-Chimal’s requests




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 Defendants Vargas and Blair list additional items for which they seek particularization in a bill
of particulars.

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for a bill of particulars and for pinpoint discovery to be well-taken, and they [Docs. 120, 121,

122, 124, 125, & 126] are GRANTED. The Court now turns to the merits of these motions.



                                         B. Bill of Particulars

       Pursuant to Federal Rule of Criminal Procedure 7(f), the Defendants ask [Docs. 44, 111,

& 113]2 the Court to order the Government to provide a bill of particulars specifying which tax

returns are alleged to be fraudulent, the overt acts and details regarding overt acts committed in

furtherance of the conspiracies, and the names of all unindicted coconspirators. Additionally,

Defendant Blair asks that the Government identify all documents that it intends to introduce at

trial. The Defendants argue that this information is necessary to permit them to prepare their

defense, to protect against potential double jeopardy violations, and to avoid surprise at trial.

They maintain that a bill of particulars is especially necessary in this case, which is factually

complex and involves multiple defendants and voluminous discovery.

       The Government responds [Docs. 47 & 132] that the Defendants provide no legal or

factual basis for a bill of particulars. It argues that the instant Indictment is sufficiently specific

to inform the Defendants of the charges against them, to protect them from double jeopardy, and

to permit them to prepare for trial. Moreover, the Government maintains that it has provided a

“speaking indictment,” which details how the offenses were committed and has disclosed full

discovery, which obviates the need for any further particularization.           It contends that the




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 The Court observes that Defendant Vargas [Doc. 120] asks for specific particularization in her
motion to join in Defendant Beltran-Chimal’s request for a bill of particulars. The undersigned
will consider those specific requests as a part of this analysis.

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Defendants’ requests for particularization are more in the nature of civil interrogatories and have

no place in a criminal prosecution.

       “The indictment . . . must be a plain, concise, and definite written statement of the

essential facts constituting the offense charged[.]” Fed. R. Crim. P. 7(c)(1). As a general rule,

an indictment passes constitutional muster if it “contains the elements of the offense charged and

fairly informs a defendant of the charge against which he must defend, and, second, enables him

to plead an acquittal or conviction in bar of future prosecutions for the same offense.” Hamling

v. United States, 418 U.S. 87, 117 (1974); United States v. Landham, 251 F.3d 1072, 1079 (6th

Cir. 2001) (quoting Hamling). An indictment may allege the charges using the words of the

statute itself as long as it gives all the elements of the offense “fully, directly, and expressly[.]”

Hamling, 418 U.S. at 117 (quoting United States v. Carll, 105 U.S. 611, 612 (1882)); Landham,

251 F.3d at 1079.      Moreover, the statutory language “must be accompanied with such a

statement of the facts and circumstances as will inform the accused of the specific offense,

coming under the general description, with which he is charged.” Hamling, 418 U.S. at 117-18

(quoting United States v. Hess, 124 U.S. 483, 487(1888)); Landham, 251 F.3d at 1079.

       Federal Rule of Criminal Procedure 7(f) states that “[t]he court may direct the

government to file a bill of particulars” and that “[t]he government may amend a bill of

particulars subject to such conditions as justice requires.” “A bill of particulars is meant to be

used as a tool to minimize surprise and assist defendant in obtaining the information needed to

prepare a defense and to preclude a second prosecution for the same crimes. It is not meant as a

tool for the defense to obtain detailed disclosure of all evidence held by the government before

trial.” United States v. Salisbury, 983 F.2d 1369, 1375 (6th Cir. 1993). The granting of a bill of

particulars is within the court’s discretion. See id. (holding that the appellate court reviews the



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denial of a bill of particulars for an abuse of discretion). The level of detail in the indictment can

be a basis for denying the motion for a bill of particulars. Id. Additionally, “a defendant is not

entitled to a bill of particulars with respect to information which is available through other

sources.” United States v. Paulino, 935 F.2d 739, 750 (6th Cir. 1991), superseded on other gnds

by statute, United States v. Caseslorente, 220 F.3d 727 (6th Cir. 2000) (on sentencing issue).

       First, the Court observes that the Defendants do not allege, and the undersigned does not

perceive, any deficiency in the statement of the elements of the offenses charged.               The

controversy in this case surrounds the sufficiency of the facts alleged in the indictment. The

Government argues that it has provided a speaking indictment that gives more than the

constitutionally required facts to indicate the specific offenses with which the Defendants are

charged. The Defendants disagree and request identification and/or particularization of (1) the

fraudulent federal income tax returns and the fraudulently obtained Individual Tax Identification

Numbers (ITIN’s), (2) the overt acts and details regarding the overt acts committed in

furtherance of the alleged conspiracies, (3) the names of unidentified co-conspirators, and (4) the

documents that the Government intends to present at trial. The Court examines the need for

particularization as to each of the four categories of information requested by the Defendants.



   (1) Fraudulent Income Tax Returns and Fraudulently Obtained ITIN’s

       Defendant Blair asks the Court to order the Government to designate which federal

income tax returns it contends are false or fraudulent. She argues that the conspiracy to submit

false claims in Counts 1 is alleged to have occurred from 2012 to August 2015.                At the

November 19 hearing, Attorney Weiss argued that the Defendants received numerous tax returns

in discovery, that only some of these tax returns are alleged to be fraudulent, and that counsel

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needs to know which returns the Defendant will have to defend against in order to prepare for

trial. In her motion, Defendant Blair also asks that the Government identify the ITIN’s, along

with the names associated with those ITIN’s, that the Government alleges were fraudulently

obtained. She maintains that the fact that discovery spans four terabytes of materials only

exacerbates her problem, rather than solving it. In this regard, she directs the Court to a case

from the Second Circuit and cases from several district courts, in which the trial court ordered

the Government to specify, among the thousands and hundreds of thousands of documents

provided in discovery, which documents, claims, or portions of a report it alleged to be

fraudulent. See United States v. Bortnovsky, 820 F.2d 572, 574 (8th Cir. 1987); United States v.

Savin, No. 00CR45, 2001WL243533, *3 (S.D.N.Y Mar. 7, 2001) (ordering government to

particularize, within the 100,000 documents provided in discovery, those financial transactions

over a six-year-period that are alleged to be improper); United States v. Nachamie, 91 F. Supp.

2d 565, 574 (S.D.N.Y. 2000) (ordering government to specify which of 2000 Medicare claims

were fraudulent); United States v. Risk, 672 F. Supp. 346, 360 (S.D. Ind. 1987) (ordering

government to particularize the portions of the bank report it alleges are false). Defendant Blair

contends that although the Indictment may be constitutionally adequate, the Government’s

failure to specify which tax returns submitted over a two-to-three-year period that it claims are

fraudulent hinders her ability to prepare her defense and increases the chance of unfair surprise at

trial.

         The Government responds that the requested particularization is unnecessary because the

Indictment is detailed and that it has provided full discovery.




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       The Court finds that the Government should particularize which federal income tax

returns it alleges are false or fraudulent. The Third Superseding Indictment alleges that the

Defendants obtained fraudulent ITIN’s and then used those ITIN’s to prepare “bogus” tax

returns.   It contends that “[i]n recognition of the illicit nature of such returns, MAYRA

MORENO INSURANCE [Defendant Blair’s business] charged more for their preparation than

would otherwise have been charged for a legitimate tax return.” [Doc. 85, ¶21] From this, the

Court infers that not every tax return prepared at Defendant Blair’s business was fraudulent. 3

Thus, the Defendants must guess which of the tax returns filed over a two and one-half year

period are the ones the Government contends are false.

       The Eighth Circuit grappled with a similar question in United States v. Bortnovsky, 820

F.2d 572 (8th Cir. 1987). There, defendants were charged with mail fraud, conspiring to defraud

the United States, and RICO violations for “engaging in a scheme to defraud the Federal

Emergency Management Administration and the New York Property Insurance Underwriting

Association through the submission of false and inflated insurance claims.” Id. at 573. The

court held that the defendants could not adequately prepare their defense because, despite

producing over 4,000 documents in discovery, the government did not reveal the dates of the

staged burglaries or identify the three allegedly false documents.      Id. at 574.   The court

acknowledged that generally a detailed indictment and provision of full discovery obviates the

need for a bill of particulars. Id. However, it held that under the circumstances of this case, a


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 The Indictment also alleges that Defendant Blair was not a registered tax preparer and that,
thus, she either forged or used without permission the name of a registered preparer when filing
the fraudulent returns. [Doc. 85, ¶22] In this regard, the Government may take the position that
every tax return filed by Defendant Blair was fraudulent because she was not a registered tax
preparer. The Court requires that the Government specify which tax returns filed by the
Defendants are part of the scheme involving fraudulent ITIN’s alleged in the Indictment.

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bill of particulars was “vital to appellants’ understanding of the charges pending and to the

preparation of a defense[.]”       Id. at 575.       C.f., United States v. Dolan, No. 95-1769,

1996WL599819, *2 (6th Cir. Oct. 17, 1996) (distinguishing Bortnovsky because the government

provided defendant with a binder with all the documents and files used in drafting the charges

and the indictment listed the patients’ names, dates, and amounts overbilled).

       In the instant case, Defendant Blair’s insurance business, which operated at three

locations, apparently also offered tax preparation services. The Court finds that knowledge of

which tax returns the Government is alleging to be fraudulent and part of the scheme described

in the Indictment is essential for the Defendants to prepare their defense at trial. Some of the

other information requested by the Defendants, such as the fraudulent ITIN’s, the names

associated with the ITIN’s, and the addresses to which the refund checks were to be mailed, can

be obtained from the allegedly fraudulent tax returns, once these are designated. Accordingly,

the Defendants’ request that the Government designate which tax returns are allegedly fraudulent

and a part of the scheme alleged in the Indictment is GRANTED. The Court finds that the

Government may provide a bill of particulars designating the fraudulent tax returns directly to

defense counsel, thereby avoiding the disclosure of personal identifiers. See generally, Fed. R.

Crim. P. 49.1(a); see also 3A Charles Allen Wright & Andrew D. Leipold, Federal Practice and

Procedure § 132 (4th ed. 2008) (providing that a “bill of particulars is not a part of the indictment

or the charge to the jury”).




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    (2) Overt Acts

        The bulk of the Defendants’ specific requests seek particularization of their roles in the

alleged conspiracies.       In this regard, they ask for specification of the overt acts that they

committed in furtherance of the alleged conspiracies, especially any overt acts that indicate they

possessed the required mens rea, as well as the dates and locations when these overt acts

occurred. Defendant Beltran-Chimal observes that that she is not mentioned in the “Manner and

Means” section of any of the counts with which she is charged. She also contends that the lack

of detail in the charges could cause the jury to be confused as to which conspiracy the proof at

trial is being presented.

        The Government responds that it is not required to prove, much less charge, an overt act

in furtherance of the conspiracy. Moreover, it contends that the Indictment describes generally

how the conspiracies occurred.

        The Court observes that “a defendant is not entitled to discover all the overt acts that might

be proven at trial.” Salisbury, 983 F.2d at 1375. A request for a bill of particulars likewise may not

be granted if the purpose “is to obtain a list of the Government’s witnesses or to discover all of the

overt acts that might be proven at trial.” United States v. Musick, 291 F. App’x 706, 724 (6th Cir.

2008). With respect to a conspiracy charged under 18 U.S.C. §286, the government does not have to

prove an overt act in order to show a conspiracy to defraud the United States. See United States v.

Dedman, 527 F.3d 577, 593 (6th Cir. 2008). The same is true for mail and wire fraud conspiracies

in violation of 18 U.S.C. §1349, United States v. Rogers, 769 F.3d 372, 380-81 (6th Cir. 2014)

(holding the government does not have to prove an overt act), and money laundering

conspiracies charged under 18 U.S.C. §1956(h), United States v. Bazazpour, 690 F.3d 796, 802



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(6th Cir. 2012) (holding that the indictment does not have to charge an overt act in furtherance of

a money laundering conspiracy under §1956(h); Whitfield v. U.S., 543 U.S. 209, 214 (2005)

(holding that a conviction under §1956(h) does not require the government to prove an overt act).

Accordingly, because there is no requirement that the Government prove an overt act, there is

likewise no need to particularize an indictment that fails to do so.

        Despite the fact that the Government need not allege overt acts with regard to Counts

One through Three, each of these counts contain a section explaining the “manner and means” by

which the conspiracies were conducted. Moreover, all of the counts in the twenty-nine-page

Third Superseding Indictment are prefaced by a section entitled “The Scheme,” in which the

Government alleges how the conspiracies were carried out and the general roles of all 4 of the

Defendants. Thus, the Court finds that the general nature of the overt acts are related in the

Indictment.

        Finally, the Court finds that the Government has provided the Defendants with

voluminous discovery in this case. As a part of discovery, the Defendants have received the

fifty-page master affidavit of Special IRS Agent Danielle Barto, which was submitted in support

of the issuance of search warrants for the homes and businesses of several of the Defendants.

[Sealed Doc. 53] This affidavit provides details about how the conspiracy is alleged to have

operated and contains translations of telephone conversations and text messages relating to

transactions involving forged documents and the preparation of tax returns. Although some of

the names are redacted, the affidavit also contains the names of persons not mentioned in the
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 Although Defendant Beltran-Chimal contends that she does not appear in association with acts
described in any of the “Manner and Means” sections of the Indictment, the Court observes that
paragraph 23 of “The Scheme” section alleges that she picked up fraudulently obtained tax
refund checks from an address or addresses she controlled or to which she had access so that the
checks could be cashed.


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Indictment. Based upon the detailed indictment and the information provided in discovery, the

Court finds that particularization of the overt acts in furtherance of the conspiracies is not

necessary to permit the Defendants to prepare for trial.



   (3) Names of Co-conspirators

       The Defendants also ask that the Court order the Government to particularize the names

of all unindicted co-conspirators, who are known to the Government. Specifically, they seek the

names of employees of Defendant Blair who allegedly prepared false tax returns at Blair’s

direction, the names of co-conspirators who participated with Defendant Beltran-Chimal in the

overt acts committed in furtherance of the alleged conspiracies, and the names of all co-

conspirators and employees whom Defendant Vargas allegedly directed to cash tax refund

checks provided by Defendant Valdez.

       It is well settled in this circuit that the Government is not required to furnish in a bill of

particulars the names of co-conspirators or other persons present when the Defendants allegedly

participated in the conspiracy. United States v. Rey, 923 F.2d 1217, 1222 (6th Cir. 1991); see also

United States v. Page, 575 F. App’x 641, 643 (6th Cir. 2014) (observing that “the government is

not obliged to provide the names of a defendant’s alleged co-conspirators”). In this respect,

                [a] defendant may be indicted and convicted despite the names of
                his co-conspirators remaining unknown, as long as the
                government presents evidence to establish an agreement between
                two or more persons, a prerequisite to obtaining a conspiracy
                conviction. As long as the indictment is valid, contains the
                elements of the offense, and gives notice to the defendant of the
                charges against him, it is not essential that a conspirator know all
                other conspirators. “It is the grand jury’s statement of the
                ‘existence of the conspiracy agreement rather than the identity of
                those who agree’ which places the defendant on notice of the
                charge he must be prepared to meet.”

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Id. (internal citations omitted) (quoting United States v. Piccolo, 723 F.2d 1234, 1239 (6th Cir.

1983)). Thus, the Government is not required to reveal the names of unindicted co-conspirators.

United States v. Crayton, 357 F.3d 560, 568 (6th Cir. 2004). Nor is it obliged to reveal a list of

its witnesses. See United States v. McCullah, 745 F.2d 350, 353 (6th Cir. 1984) (holding that the

Sixth Circuit “has firmly established that defense counsel is not entitled to know in advance of

trial who will testify for the government”).

   In the instant case, however, the Court finds that the Government has revealed the names of a

number of unindicted co-conspirators in the affidavit of Agent Barto. This includes the name of

at least one employee of Defendant Blair, whom the affidavit alleges was involved in the

preparation of fraudulent tax documents. The Court finds that further specification of the names

of unindicted coconspirators is not necessary for the Defendants to prepare for trial.



   (4) Documents the Government Intends to Present at Trial

       Finally, Defendant Blair asks [Doc. 111, p.2] the Court to order the Government to

specify all the documents that it intends to produce at trial. The Court need not dwell much on

this final request because, as noted above, a bill of particulars is not a vehicle by which a

defendant may discover a detailed list of the evidence the Government will present at trial.

Salisbury, 983 F.2d at 1375. Moreover, requiring the Government to designate all the evidence

that it will introduce at trial exceeds the discovery requirements in Rule 16(a) of the Federal

Rules of Criminal Procedure as well as the case law in this circuit and arguably impinges upon

the work product of counsel for the United States. See United States v. Richards, 659 F.3d 527,

543-44 (6th Cir. 2011), cert. denied, 132 S. Ct. 2726 (2012) (concluding that even when



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discovery is voluminous, the government has no duty to isolate the particular items or documents

that are relevant to each count of an indictment); United States v. Warshak, 631 F.3d 266, 296

(6th Cir. 2010) (rejecting an argument that the government direct a defendant to exculpatory

evidence within the total discovery provided); United States v. Presser, 844 F.2d 1275, 1285 (6th

Cir. 1988) (holding that“[t]he discovery afforded by Rule 16 is limited to the evidence referred to

in its express provisions”); United States v. Leggett & Platt, Inc., 542 F.2d 655, 660 n.6 (6th Cir.

1976) (observing that the “work product doctrine clearly applies to the work produced by

government attorneys in anticipation of litigation”). Moreover, even if the Court were inclined

to order the disclosure of what in essence is an exhibit list by some other means than a bill of

particulars, it is doubtful that the Government would be able to produce such a list until much

closer to the July 19 trial date. In this regard, the Court’s instructions in its typical pretrial order

already encourage the parties to exchange exhibits in advance of trial with an eye toward

stipulating to their admissibility when possible.



    (5) Conclusion

        In summary, the Court finds that most of the Defendants’ requests for particularization

are not necessary in this case. However, the Court finds that the Government should designate

which federal income tax returns filed by the Defendants that it contends are fraudulent or false.

The Government may choose the best method of designating these returns, whether it be the

name of the taxpayer, the ITIN numbers, the bates numbers of the returns provided in discovery,

or some other means of identification. The Government is (1) to provide this information to

defense counsel and (2) to file a notice in the record stating that it has provided a bill of



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particulars to counsel on or before March 11, 2016. Accordingly, the Defendants’ joint motions

for a bill of particulars [Docs. 44, 111, and 113] are GRANTED in part, in that the Government

shall designate which federal income tax returns it is alleging are false or fraudulent, and are

DENIED in all other respects.



                                   C. PINPOINT DISCOVERY

       The Defendants move [Doc. 101] the Court to order the Government to identify

specifically which documents or items in the voluminous discovery are relevant to each

Defendant’s alleged participation in the charges asserted in the Third Superseding Indictment.

The motion states that the discovery in this case is on seven compact disks or DVD’s and that

some of the discovery is in Spanish. The Defendants contend that unless the Government

identifies which discovery is relevant to each Defendant, defense counsel will not have sufficient

time to review the discovery, to determine whether expert witnesses are necessary, to prepare

and litigate pretrial motions, and to prepare witnesses for trial. The Defendants also argue that

ordering pinpoint discovery will not prejudice the Government and would serve to promote

judicial economy, the orderly administration of justice, and the efficiency of appointed counsel,

thereby reducing the cost of the case to the federal government. They argue that the failure to

require pinpoint discovery will in effect nullify their speedy trial rights because counsel will be

required to request long continuances to review discovery and prepare.

       The Government objects [Doc. 132] to providing pinpoint discovery. First, it observes

that it has gone “above and beyond the requirements of Rule 16” by having the discovery

scanned into a searchable PDF format, by informing the Defendants of the Bates number ranges



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of documents based upon the location of their seizure, by locating particular types of documents

for defense counsel, and by meeting with counsel and pointing out documents that show the roles

of the specific Defendants. Second, Government argues that the Defendants and the Government

will likely have different interpretations of which particular documents relate to a specific

Defendant.   In this regard, the Government argues that in a conspiracy prosecution, every

document that is inculpatory to one coconspirator is inculpatory to all the co-conspirators. Third,

the Government questions whether the provision of pinpoint discovery will ultimately be more

cost-efficient or preserve judicial resources because of the heightened potential for disputes over

what the Government should have disclosed and appellate issues regarding whether the

Defendants received effective representation. Finally, the Government stresses that the specific

designation requested by the Defendants is not required by Rule 16 and would require the

Government to disclose its attorney work product in the form of its theories of the case. Thus,

the Government urges the Court to deny the motion, particularly in light of the trial continuances

giving the Defendants ample time to review the discovery.

       At the November 19 hearing, Mr. Gulley stated that the discovery in this case equaled

four terabytes of materials.    He stated that absent any clarification of Defendant Beltran-

Chimal’s role in the alleged conspiracies, this “document dump” by the Government

compromises his client’s right to a speedy trial. He argued that pinpoint discovery would not be

onerous to the Government.      Moreover, he contended that, although the Court has denied

motions for pinpoint discovery in other cases, the amount of discovery in the instant case is

several orders of magnitude greater than the discovery in those cases.




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       Attorneys Roskind, Weiss and Hedrick argued that they could not adequately search the

discovery. They explained that they had to open each document or file and then search within

that document.

       AUSA Dale stated that the Government had taken fifty-two boxes of documents and

scanned them into an electronic, searchable format. Additionally, the Government had provided

additional data seized from computers in an electronic format. He stated that although the

discovery contained hundreds of documents, the documents were generally of the same types,

because the Defendants had replicated the same scheme hundreds of times. He believed that the

Defendants could join the files in the electronic discovery and then search within those joined

files. Moreover, he stated that the case agents had met (or will meet) with each defense attorney

for one and one-half hours and had provided the Bates numbers of the range of documents

relevant to that attorney’s client, as well as pointing out some documents that were not helpful to

the Government.

         Mr. Gulley agreed that the case agents had offered to meet with counsel and show

information relevant to his client.5 He stated that while he appreciated the opportunity to meet

with the case agent, he would still have to conduct his own review of discovery in order to fulfill

his role as a zealous advocate.

       Mr. Hedrick had met with the case agent, who had outlined the important parts of

discovery. He was concerned about the usefulness of searching the electronic discovery because

the indictment alleged that the tax returns were filed under false names, but he did not know the

false names in order to search for them. When asked by the Court whether he would have to

review all of the discovery even if the Government provided pinpoint discovery, Mr. Hedrick
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 At the time of the November 19 hearing, Mr. Gulley had not yet met with the case agent but
was in the process of scheduling such a meeting.


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stated that he could spot check that discovery that was designated as irrelevant. He said that the

Government would have to pinpoint the discovery for trial anyway, so it was not a burden to

require the Government to do so in advance of trial. Mr. Hedrick said that he especially needed

to know the names of employees whom Defendant Vargas allegedly asked to cash checks. He

said that if he did not know these employees’ names, he could not search for them in the

discovery. He agreed that he could ask his client who worked for her and stated that he had

located one employee, but he was concerned there could be others. He stated that he needed to

know the instructions Defendant Vargas allegedly gave to employees because such information

was relevant to the existence of a conspiracy, as opposed simply to working at a check cashing

business.

        Mr. Greene stated that he had also met with a case agent, who designated the range of

documents pertinent to his client. He stated that while the tax returns were in English, the other

correspondence and transcribed telephone conversations were in Spanish. When the Court

suggested that he could hire an interpreter to translate the Spanish discovery, Mr. Greene

observed that his client, who is released on conditions, speaks both English and Spanish and had

been reviewing the discovery with him.

        Ms. Waters stated that she had also met with the case agents but, even after this meeting,

she still had questions about what specifically the Government claimed that her client did in

furtherance of the conspiracy. She said that she could not prepare to defend her client adequately

when she still had questions about her client’s alleged participation. Ms. Waters argued that the

charges must be sufficiently precise for Defendant Carvahal to prepare for trial. She said that

she was not asking for civil discovery but that she did not feel the charges were sufficiently

precise in this case.



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       Mr. Roskind stated that the four terabytes of discovery, the equivalent of about ten

million files or documents, was the largest amount of discovery of any criminal case in which he

had been involved. He stated that while there are two ways of searching electronic documents,

neither worked well in this case due to the mixture of documents—everything from handwritten

checks to screen shots from a computer—and the alleged use of false names. He stated that he

met with the case agents for an hour and fifteen minutes, and they showed him some thirty

documents that they claim are relevant to his client. AUSA Dale stated that agents showed Mr.

Roskind the checks that his client is alleged to have cashed, as well as tax documents, mailer

envelopes, and recordings of telephone calls. Mr. Roskind said the problem is that the checks

from the meeting do not add up to the amount of proceeds the Government is attributing to his

client. Thus, at the time of the hearing, he had spent thirty-two hours reviewing about twenty

percent of the documents provided in discovery. He stated that if his client chooses to proceed to

trial, he will need to know about the rest of the conspiracy and that it would be helpful at that

stage to know which Bates numbers relate to each of the Defendants.

       Rule 16, of the Federal Rules of Criminal Procedure, and the Court’s Order on Discovery

and Scheduling [Doc. 40] govern the parties’ responsibilities with regard to discovery in this

case. These sources provide what should be disclosed and when it should be disclosed, but do

not speak to the form that the disclosure should take. See U.S. v. Warshak, 631 F.3d 266, 296

(6th Cir. 2010) (observing that Fed. R. Crim. P. 16 does not require that discovery be indexed or

organized in a specific way). In the instant case, the Court finds that the amount of discovery is

voluminous, consisting of approximately four terabytes of data.        The Court finds that the

Government has provided the discovery on disks, has informed defense counsel of the origins of

the various types of data, and has met informally with defense counsel and outlined those



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documents it believes most relevant to his or her client. While the electronic data is also

“searchable,” the search function is apparently of little value to defense counsel due to the nature

of the materials that are provided in discovery.

       The Defendants asks the Court to order the Government to specify which portions of the

discovery apply to each Defendant. They maintain that it is within the Court’s discretion and

inherent powers to regulate discovery. See United States v. Richards, 659 F.3d 527, 543 (6th

Cir. 2011), cert. denied 2012 WL 1534481 (2012); Rhodes v. McDaniel, 945 F.2d 117 119 (6th

Cir. 1991) (determining that “[t]he district court has broad discretion in regulating discovery”).

They contend that such particularization will aid the Defendants, who have differing roles in the

conspiracy; will promote the speed and cost-effectiveness of the resolution of this case; and will

not prejudice the Government. After carefully considering the arguments of the parties, the

Court finds that the requested designation is not necessary in this case.

       First, the Court questions whether the Government can effectively isolate all the

discovery that applies to each Defendant. As the Government points out, the Defendants in this

case are charged with conspiring to defraud the United States, conspiring to commit mail and

wire fraud, and conspiring to commit money laundering. It is well settled that “the overt act of

one partner in crime is attributable to all,” as long as the overt act was performed in furtherance

of the conspiracy. Pinkerton v. U.S., 328 U.S. 640, 645 (1946). Accordingly, the Court finds

that knowing what parts of the discovery the Government contends are an overt act committed

by a particular Defendant will not alleviate the Defendants’ need to review those overt acts

allegedly committed by their codefendants. In other words, even if the Defendants received

pinpoint discovery, they would still have to review the other discovery to prepare for trial. Some

of the defense counsel acknowledged this to be the case at the November 19 hearing. This need



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to review discovery applicable to codefendants belies the Defendants’ arguments that the

provision of pinpoint discovery will reduce the cost of the case and promote judicial economy.

       Second, the Defendants argue that requiring the Government to produce pinpoint

discovery will not prejudice the Government. The Government disagrees with this contention

and argues that requiring it to pinpoint which evidence relates to the actions of a particular

defendant is essentially requiring it to reveal its trial strategy. Additionally, it argues that any

pretrial designation and organization of the discovery for the Defendants sets the stage for future

disputes over what should have been disclosed and potential appellate issues regarding the

adequacy of defense counsels’ review of discovery.           The Court finds that ordering the

Government to provide pinpoint discovery would require the Government to reveal its theory of

the case and trial strategy well in advance of the trial. However, the Court also finds that the

Government has already made such a revelation informally in meetings with defense counsel.

Accordingly, the Court cannot discern the prejudice in this case.

       In the end, the Court can discern neither a benefit to defense counsel—who must

ultimately review the discovery attributable to each of the co-conspirators in order to prepare for

trial—nor the prejudice to the Government, which has already informally revealed the very

information it now opposes providing. Accordingly, this controversy appears to be largely moot.

The Court continues to be concerned about balancing counsel’s need to review increasingly more

voluminous discovery with the defendant’s right to a speedy trial. The solution contemplated by

the Speedy Trial Act is to recognize that, in complex cases, such as this one, adequate

preparation for pretrial proceedings and for trial cannot be accomplished within the time limits

established by the Act. See 18 U.S.C. §3161(h)(7)(B)(ii). In the instant case, the trial has been

continued [Docs. 56 & 119] over one year to July 19, 2016, to give counsel sufficient time to



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review discovery, litigate pretrial motions, and prepare for trial.    The Court finds that the

provision of the discovery in electronic format, the informal designation of relevant documents

by the Government, and the ample additional time granted in continuing this case have

ameliorated the sheer volume of the discovery for defense counsel.              Accordingly, the

Defendant’s joint Motion for “Pinpoint” Discovery [Doc. 101] is DENIED.



                                     III.    CONCLUSION

       For the reasons stated herein, the Court ORDERS as follows:

          (1) The Defendants’ motions [Docs. 120. 121, 122, 124, 125, & 126]
              to join in the motions of Defendant Beltran-Chimal are
              GRANTED;

          (2) The Defendants’ joint motions for a bill of particulars [Docs. 44,
              111, and 113] are GRANTED in part, in that the Government
              shall designate by March 11, 2016, which federal income tax
              returns it is alleging are false or fraudulent, and are DENIED in all
              other respects;

          (3) The Defendant’s joint Motion for “Pinpoint” Discovery [Doc. 101]
              is DENIED.

              IT IS SO ORDERED.

                                            ENTER:

                                                 s/ C. Clifford Shirley, Jr.
                                            United States Magistrate Judge




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